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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA     *
                             *
    v.                       *    CRIMINAL NO. LKG-23-323
                             *
MICHAEL GEORGE VERZALENO,    *
JR,                          *
                             *
         Defendant           *
                          *******

     UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by its undersigned attorneys, respectfully moves this Court

for the issuance of a Preliminary Order of Forfeiture in the above-captioned case pursuant to 18

U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), 21 U.S.C. §853(p), and Rule 32.2(b) of the

Federal Rules of Criminal Procedure. A proposed Preliminary Order of Forfeiture is submitted

herewith. In support thereof, the United States sets forth the following:

       1.      On September 14, 2023, a federal grand jury sitting in the District of Maryland

returned an Indictment, charging Michael George Verzaleno Jr. (the “Defendant”) with

Conspiracy to Defraud, in violation of 18 U.S.C. § 1349 (Count One), Wire Fraud, in violation of

18 U.S.C. § 1343 and 2 (Count Two to Fifteen), and Mail Fraud, in violation of 18 U.S.C. § 1341

(Count Sixteen to Eighteen). ECF No. 1.

       2.      The Indictment also included a forfeiture allegation which provided notice that

the United States intended to seek forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.

§ 2461(c), 21 U.S.C. §853(p), upon conviction of the Defendant of the offenses alleged in

Counts One to Eighteen of the Indictment.

       3.      On November 18, 2024, the Defendant pled guilty to the offenses alleged in

Count One of the Indictment. ECF. No. 143. As part of his guilty plea, the Defendant agreed to
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entry of an order of forfeiture to include a money judgment in the amount of $1,000,000.00 in

U.S. currency equal to the value of the property derived from, or otherwise involved in, the

Defendant’s offense. Id. ¶¶13.

       4.      In support of his guilty plea, the Defendant executed a Stipulation of Facts in

which the Defendant between approximately September 2013 and January 2020, the Defendant

worked with another co-defendant to prepare and submit false delivery receipts falsely showing

delivery of commercial drums, causing false invoices to be sent to Citrus and Allied Essences for

payment. A portion of the payments would be used to provide cash kickbacks to a second co-

defendant and another co-conspirator. ECF 143.

       5.      Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), 21 U.S.C. §853(p),

and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the United States is now entitled

to a forfeiture money judgment in the amount of $1,000,000.00 in U.S. currency against the

Defendant.

       6.      Further, the United States may move at any time, pursuant to Rule 32.2(e)(1)(B)

of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(p), to forfeit any property of the

defendant up to the value of the forfeiture money judgment included in the Preliminary Order of

Forfeiture. Upon issuance of any order forfeiting specific property, the United States will

publish notice in accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules

of Criminal Procedure.

       7.      The United States also seeks permission to conduct any discovery that might be

necessary to identify, locate, or dispose of forfeited property, pursuant to Rule 32.2(b)(3) of the

Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).




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       WHEREFORE, the United States requests that this Court:

       (a)    enter the Preliminary Order of Forfeiture in the form submitted herewith;

       (b)    include the forfeiture, as set forth in the Preliminary Order of Forfeiture, in the

oral pronouncement of the Defendant’s sentence;

       (c)    retain jurisdiction for the purpose of enforcing the forfeiture; and

       (d)    incorporate the Preliminary Order of Forfeiture in the criminal judgment entered

against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).



                                                     Respectfully submitted,

                                                     Philip A. Selden
                                                     Acting United States Attorney

                                             By:     /s/
                                                     Martin J. Clarke
                                                     Timothy Hagan
                                                     Joseph Wenner
                                                     Assistant United States Attorneys




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